Case 2:03-CV-02423-SH|\/|-tmp Document 124 Filed 07/20/05 Page 1 of 4 Page|D 143

Fn.ED ev ,_§ pa

IN THE UNITED sTATES DISTRICT COURT `
FOR THE wESTERN DISTRICT oF TENNESSEE 95 JUL 20 FH 1,.

wESTERN DIvIsIoN ‘3'#

 

01va s.;xsncirhoqmw

LAURA A. TAVERNIER, M. D. , WE)OF ]';J MF

wm

Plaintiff,

V. NO. 03-2423-MaP

THE UNIVERSITY OF TENNESSEE
COLLEGE OF MEDICINE, ET AL.,

Defendants.

 

ORDER GRANTING PERMISSION TO FILE
RESPONSES TO MOTIONS FOR SUMMARY JUDGMENT AND
RESPONSES TO UNDISPUTED MATERIAL FACTS

 

Before the court is plaintiff's July 18, 2005, motion to
file responses to defendants' various motions for summary
judgment and statements of undisputed material facts which exceed
the local rule page limitation. For good cause shown, the motion
is granted. The following responses to defendants’ motions for
summary judgment are allowed and are filed as of July 18, 2005:

l. Response to Defendant Henry G. Herrod, M.D.'s Motion

for Summary Judgment (filed in his individual
capacity), and response to his statement of undisputed
material facts.

2. Response to defendant John E. Midtling, M.D.'s Motion

for Summary Judgment In His Individual Capacity, and
the response to his statement of undisputed material

facts.

T:'.is document entered on the dockei she t |n omp|\ance
with Ru!e ad and/or 'r`§(a) FRCP on .Z_js` '.él_

Case 2:03-CV-02423-SH|\/|-tmp Document 124 Filed 07/20/05 Page 2 of 4 Page|D 144

3. Response to Defendants' The University of Tennessee
College of Medicine, John E. Midtling, M.D. (In His
Official Capacity), Henry G. Herrod, M.D. (In His
Official Capacity), Ray Walker (In His Individual an
Official Capacities), and Nancy Maddox (In Her
Individual and Official Capacities) Motion for Summary
Judgment, and the response to their statement of
undisputed material facts.

It is so ORDERED this lolx`day of July, 2005.

M.(///'/L/L__\

SAMUEL H. MAYS, JR.
U`NI'I‘ED STA'I‘ES DISTRIC'I‘ JUDGE

 

   

UNDITE` sTATES DISRTICT OURT - WEST"DT"ERISRICOF TNNESSEE

thice of Distribution

This notice confirms a copy of the document docketed as number 124 in
case 2:03-CV-02423 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

James M. Simpson

ALLEN SUMMERS SIMPSON LILLIE & GRESHAl\/l7 PLLC
80 Monroe Ave.

Ste. 650

1\/lemphis7 TN 38103--246

Georgia A. Robinette

FARRIS MATHEWS BRANAN BOBANGO HELLEN & DUNLAP, PLC
One Commerce Square

Ste. 2000

1\/lemphis7 TN 38103

Lisa A. Krupicka

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/lemphis7 TN 38103

.1 effery A. .1 arratt

GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/lemphis7 TN 38103

.1 ennifer Shorb Hagerman
BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/lemphis7 TN 38103

Zachary S. Griftith

OFFICE OF THE ATTORNEY GENERAL
P.O. BOX 20207

Nashville, TN 37202--020

Eugene S. Forrester

FARRIS MATHEWS BRANAN BOBANGO HELLEN & DUNLAP, PLC
One Commerce Square

Ste. 2000

1\/lemphis7 TN 38103

Case 2:03-cV-02423-SH|\/|-tmp Document 124 Filed 07/20/05 Page 4 of 4 Page|D 146

Heather Webb Fletcher

ALLEN SUMMERS SIMPSON LILLIE & GRESHAl\/l7 PLLC
80 Monroe Ave.

Ste. 650

1\/lemphis7 TN 38103--246

Honorable Samuel Mays
US DISTRICT COURT

